Case 19-15772-KCF      Doc 55-6 Filed 05/05/20 Entered 05/05/20 10:42:57               Desc
                           Proposed Order Page 1 of 2



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

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  In Re:
                                                       Case No.: 19-15772-KCF
  TIMOTHY C. DRASHER,

                            Debtor.                    Chapter 7

                                                       Hearing Date: June 9, 2020 at 10:00am

                                                       Judge: Hon. Kathryn C. Ferguson


           ORDER VOIDING LEASE ASSUMPTION AGREEMENT AND
                    DECLARING DEBT DISCHARGED

    The relief set forth on the following pages, numbered two (2) through two (2) is

    hereby ORDERED.
 Case 19-15772-KCF        Doc 55-6 Filed 05/05/20 Entered 05/05/20 10:42:57               Desc
                              Proposed Order Page 2 of 2
Debtor:             Timothy C. Drasher
Case No.:           19-15722-MBK
Caption of Order:   ORDER VOIDING LEASE ASSUMPTION AGREEMENT AND DECLARING DEBT
                    DISCHARGED

        This matter having been brought to this Court on motion by Timothy C. Drasher (the

“Debtor”), by and through his counsel, seeking an Order Voiding the Lease Assumption

Agreement and Declaring the Debt Discharged held by Toyota Motor Credit Corporation; and

the Court having considered the papers and arguments of counsel in support, and in opposition, if

any, and good cause shown;

     ACCORDINGLY, IT IS HEREBY

     ORDERED that the Lease Assumption agreement entered into by Debtor Timothy C.

Drasher and Toyota Motor Credit Corporation is hereby declared void; and

     ORDERED that the debt owed Toyota Motor Credit Corporation by Debtor Timothy C.

Drasher is hereby declared discharged.




                                               2
